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NOTE: This order is nonprecedential.

Gnited States Court of Appeals ~\)
for the Federal Circuit FILED

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IN RE GOOGLE ING CLERK US. DISTRICT COURT
Petitioner. NORTHERN DISTRICT OF CAL

 

10-2661 WHA
Miscellaneous Docket No. 106 oN ©

 

On Petition for Writ of Mandamus to the United States
District Court for the Northern District of California in
case no. 10-CV-3561 Judge William Alsup.

 

ON PETITION

 

ORDER

Google Inc. submits a petition for a writ of mandamus
to direct the United States District Court for the Northern
District of California to (1) confirm that the August 6,
2010 email (and all drafts thereof) authorized by Tim
Lindholm are privileged, (2) grant all of the relief detailed
in its Proposed Order submitted below, (3) seal its Octo-
ber 20, 2011 order denying Rule 72(a) relief, and (4)
vacate its November 2, 2011 order stripping the Lindholm
email and drafts of their confidential designations.

Upon consideration thereof,
Case 3:10-cv-03561-WHA Document 619 Filed 11/10/11 Page 2 of 2

IN RE GOOGLE 2

IT IS ORDERED THAT:

Oracle America, Inc. is directed to respond no later
than November 28, 2011.

FoR THE COURT

NOV 0 8 2011 /s/ Jan Horbaly
Date Jan Horbaly
Clerk

cc: Robert A. Van Nest, Esq.
David Boies, Esq. FILED
; ; ; U.S. COURT OF APPEALS FOR
Clerk, United States District Court for the Northern He a cS
District Of California

as NOV 03 2011

JAN HORBALY
CLERK
